                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE:
                                                   Bankruptcy Case No. 22-20823-GLT
 U LOCK INC.,
                                                   Chapter 7
                   Debtor,

 SHANNI SUE SNYDER,

                Movant,                            Related Doc. No. 315

          v.

 CHRISTINE BIROS,

                Respondent.

           NOTICE OF FILING OF AFFIDAVIT OF WILLIAM E. OTTO, ESQ.
                         PURSUANT TO 28 U.S.C. § 1746

        COMES NOW, Christine Biros, by and through her undersigned counsel, and hereby

submits the Affidavit of William E. Otto, Esq. and it exhibits, attached hereto.



Dated: February 7, 2023

                                                     Respectfully submitted,

                                                     BERNSTEIN-BURKLEY, P.C.

                                                     By: /s/ Robert S. Bernstein
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